                Case 2:15-cr-00015-TLN Document 220 Filed 02/01/19 Page 1 of 2


     Roberto Marquez, SB#131195
1    Law Office of Roberto Marquez
     613 D Street
2    Marysville, CA 95901
     (530) 749-8766
3
     Attorney for Defendant,
4    Gurdeep Singh
5
                                  UNITED STATES DISTRICT COURT
6
                           FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                                    ) Case No. 15-cr-00015 GEB
     UNITED STATES OF AMERICA,                       )
9                                                    ) STIPULATION AND ORDER
                     Plaintiff,                      ) EXONERATING BOND
10                                                   )
            vs.                                      )
11                                                   )
     GURDEEP SINGH,                                  )
12                                                   )
                     Defendant                       )
13                                                   )
14

15          On January 9, 2015, defendant Gurdeep Singh was released on a $350,000 Secured

16   Appearance Bond. Pursuant to the court’s order, the court received three deeds of trust, noted in

17   docket entries 45, 47, and 48.
18
            On November 16, 2018, Mr. Singh was sentenced to 46 months imprisonment with a
19
     self-surrender date of January 18, 2019. The judgment was filed on November 19, 2018.
20
            On January 18, 2019, Mr. Singh was taken into custody by the Bureau of Prisons as
21
     ordered.
22
            Because Mr. Singh has been sentenced by the court and his matter has concluded, the
23

24   parties stipulate that his appearance bond be exonerated, and that the deeds of trust be

25   reconveyed.

26

                                                      1
              Case 2:15-cr-00015-TLN Document 220 Filed 02/01/19 Page 2 of 2



1
     DATED: January 30, 2019                       /s/ Roberto Marquez, Attorney for Defendant,
2
                                                   Gurdeep Singh

3
     DATED: January 30, 2019                       /s/ Paul Andrew Hemesath, Assistant U.S. Attorney
4

5
                                                  ORDER
6
            Pursuant to the above stipulation, Mr. Gurdeep Singh’s release bond is exonerated. The
7

8    clerk is directed to reconvey the collateral received on his behalf (Docket Entries 45, 47, and 48).

9
     Dated:      January 31, 2019
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                      2
